                  Case 2:94-cr-00548-TSZ Document 33 Filed 01/04/21 Page 1 of 2




1                                                            The Honorable Thomas S. Zilly
2
3
4
5                                 UNITED STATES DISTRICT COURT FOR THE
                                    WESTERN DISTRICT OF WASHINGTON
6
                                              AT SEATTLE
7
     UNITED STATES OF AMERICA,                       CASE NOS. CR94-398TSZ
8
                                                               CR94-548TSZ
9                                      Plaintiff,              CR94-550TSZ
                                                               CR94-604TSZ
10                                v.
11 JOHNNY MADISON WILLIAMS,
                                                     ORDER
12
                                       Defendant.
13
14
             THIS COURT having considered the stipulation of the parties regarding a
15
     Reduction of Sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), and for good cause
16
     appearing, IT IS HEREBY ORDERED THAT:
17
             1.       Pursuant to 18 U.S.C. § 3582(c)(1)(A), this Court may reduce a sentence
18
     previously imposed if the defendant has satisfied the exhaustion requirement of the statute
19
     and presents an extraordinary and compelling reason for a reduction in sentence. If those
20
     conditions are met, this Court must then assess whether a reduction in sentence is
21
     appropriate after consideration of the factors in 18 U.S.C § 3553(a) and any danger the
22
     defendant might present to the community if released.
23
             2.       The record in this case establishes that the defendant has satisfied the
24
     statutory exhaustion requirement because 30 days have passed since he presented his
25
     request to the warden of the institution where he was then housed. Further, because he
26
     suffers from various medical conditions that, along with his age, are recognized by the
27
     Centers for Disease Control and Prevention to place him at high risk of serious illness from
28

      ORDER - 1                                                            UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      United States v. Williams
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
               Case 2:94-cr-00548-TSZ Document 33 Filed 01/04/21 Page 2 of 2




 1 coronavirus disease 2019 (COVID-19), he has presented extraordinary and compelling
 2 reasons permitting this Court to consider whether a reduction in his sentence is appropriate.
 3 Based on an assessment of the factors in 18 U.S.C § 3553(a) and any danger the defendant
 4 might present to the community if released, this Court concludes that such a reduction is
 5 appropriate in this case for the reasons set out in the stipulation of the parties.
 6          THEREFORE, this Court ORDERS:
 7          1. The defendant’s term of imprisonment is reduced to time served.
 8          2. To ensure that defendant does not transmit a known pathogen to the community,
 9               the defendant shall be placed in quarantine at USP Lompoc for a 14-day period
10               prior to his release; if defendant tests positive for the coronavirus that causes
11               COVID-19 at any time during the quarantine period, BOP shall notify the
12               Government, which will immediately notify the Court so that this Order may be
13               appropriately modified.
14          3. Upon his release, the defendant shall reside in and satisfactorily participate in a
15               residential reentry center program, as a condition of supervised release or
16               probation for up to 180 days or until discharged by the Program Manager or U.S.
17               Probation Officer for residence in an Oxford House facility. The defendant may
18               be responsible for a 25% gross income subsistence fee.
19          Dated this 4th day of January, 2021.
20
21                                                     A
22                                                     Thomas S. Zilly
                                                       United States District Judge
23
24
     Prepared by:
25
26 /s/ Helen J. Brunner                                /s/ Vicki Lai
   HELEN J. BRUNNER                                    VICKI LAI
27 Assistant United States Attorney                    Assistant Federal Public Defender
28                                                     Counsel for Johnny Madison Williams

     ORDER - 2                                                               UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. Williams
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
